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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

MICHAEL TIEMANN,                             )
                                             )
              Plaintiff,                     )
                                             )
       v.                                    )           No. 4:21CV416 JCH
                                             )
CITY OF ST. CHARLES, MISSOURI,               )
                                             )
              Defendant.                     )


                                      ORDER OF REMAND

       IT IS HEREBY ORDERED, ADJUDGED and DECREED that this matter is

REMANDED to the Circuit Court of St. Charles County, State of Missouri.



Dated this 26th Day of April, 2021.



                                             /s/ Jean C. Hamilton
                                             UNITED STATES DISTRICT JUDGE
